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                          UNITED STATES DISTRICT COURT
                          SOUTHERN DISTRICT OF FLORIDA

                       Case No. 23-cv-21065-ALTONAGA/DAMIAN

  JONATHAN CONDE,

        Plaintiff,
  v.

  CDJ OF 152ND ST MIAMI LLC,

        Defendant.
  _____________________________________/

                 ORDER SCHEDULING SETTLEMENT CONFERENCE
                                (BY ZOOM)

        THIS CAUSE is before the Court pursuant to an Order of Referral entered by the

  Honorable Cecilia M. Altonaga, Chief United States District Judge, to conduct a Settlement

  Conference in this matter. [ECF No. 4].

        It is hereby ORDERED as follows:

        1.      A settlement conference is scheduled in this matter for 2:00 P.M., Friday, May
                19, 2023. The parties shall participate in the settlement conference using
                Zoom. The Court will email counsel the Zoom meeting ID and password.
                ANY PARTY WHO DOES NOT SPEAK ENGLISH MUST BRING A
                PROFESSIONAL          INTERPRETER             TO      THE      SETTLEMENT
                CONFERENCE. The plaintiff(s) and the defendant(s) may not share an
                interpreter.

        2.      The settlement conference shall be attended by all parties, corporate
                representatives, and their counsel of record. All persons named as individual
                parties shall be present and each entity shall have a party representative(s)
                present with full authority to bind the party up to and including the full
                amount claimed as damages plus any applicable attorney’s fees and costs.

        3.      In the event that a monetary settlement would be payable from proceeds of
                an insurance policy, a claims professional/ representative(s) from the party’s
                insurer with full and final authority to authorize payment to settle the matter
                up to the full limits of the party’s policy(s), shall be present. Failure of a
                party representative with full and final authority to make and accept offers
                of settlement to attend this conference may result in the Court’s sua sponte
                recommendation to the District Judge that sanctions be entered against the
                offending party.
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         4.     The parties shall submit written confidential settlement statements to the
                Court three (3) days prior to the settlement conference. These statements
                should not be provided to opposing counsel – only the Court. The confidential
                settlement statements shall not exceed three (3) pages in length and may include
                any information that the parties would like the Court to be aware of that is not
                available to any other party. The statements shall include the status of all
                settlement discussions between the parties to date. The parties may email their
                statements to Damian@flsd.uscourts.gov.

         5.     The Court may reach out to the parties’ counsel of record to schedule individual
                preliminary calls before the settlement conference.

         6.     Telephonic attendance will not be considered without the Court’s prior
                permission, and unless extraordinary circumstances exist.

         7.     A total of three (3) hours will be allotted for the settlement conference.
                However, all parties, corporate representatives, and counsel of record
                should be available for the entirety of the day on the assumption that
                settlement discussions may extend past the scheduled conference cut-off time.

         8.     The conference will not be continued absent extremely compelling
                circumstances. Any motion for continuance shall provide alternative dates
                and times that are available for all parties.

         9.     The conference shall be conducted without a court reporter and will not be
                recorded. All representations and statements made at the conference will
                remain confidential.

         10.    In the event that this matter settles prior to the conference, the parties shall
                immediately advise the Court’s chambers.

         DONE AND ORDERED in Chambers at Miami, Florida, this 12th day of May, 2023.



                                             ____________________________________
                                             MELISSA DAMIAN
                                             UNITED STATES MAGISTRATE JUDGE



  Copies to:
  Hon. Cecilia M. Altonaga, Chief U.S. District Judge
  Counsel of Record

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